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2AO 432
                                     Administrative Office of the United States Courts
(Rev. 2/84)

                                        WITNESS AND EXHIBIT RECORD
DATE                      CASE NUMBER              OPERATOR                                  PAGE NUMBER
        3/10/2025         5:24-cr-50061-004         Roxana Guerrero                          1
                                                                                                            PRESIDING
                NAME OF WITNESS                       DIRECT         CROSS        REDIRECT    RECROSS
                                                                                                             OFFICIAL

 G1.) Det. Parrish Diaz                                  X              X                                       X

  D1.) Allishia Lacy (Young)                             X             X                                        X




                                                                                                           ADMITTED IN
    EXHIBIT NUMBER                                  DESCRIPTION                                  ID
                                                                                                            EVIDENCE
